Case 4:19-cv-01718-ACA Document 1-1 Filed 10/21/19 Page 1 of 16            FILED
                                                                  2019 Oct-21 PM 04:18
                                                                  U.S. DISTRICT COURT
                                                                      N.D. OF ALABAMA
Case 4:19-cv-01718-ACA Document 1-1 Filed 10/21/19 Page 2 of 16
Case 4:19-cv-01718-ACA Document 1-1 Filed 10/21/19 Page 3 of 16
Case 4:19-cv-01718-ACA Document 1-1 Filed 10/21/19 Page 4 of 16
Case 4:19-cv-01718-ACA Document 1-1 Filed 10/21/19 Page 5 of 16
Case 4:19-cv-01718-ACA Document 1-1 Filed 10/21/19 Page 6 of 16
Case 4:19-cv-01718-ACA Document 1-1 Filed 10/21/19 Page 7 of 16
Case 4:19-cv-01718-ACA Document 1-1 Filed 10/21/19 Page 8 of 16
Case 4:19-cv-01718-ACA Document 1-1 Filed 10/21/19 Page 9 of 16
Case 4:19-cv-01718-ACA Document 1-1 Filed 10/21/19 Page 10 of 16
Case 4:19-cv-01718-ACA Document 1-1 Filed 10/21/19 Page 11 of 16
Case 4:19-cv-01718-ACA Document 1-1 Filed 10/21/19 Page 12 of 16
Case 4:19-cv-01718-ACA Document 1-1 Filed 10/21/19 Page 13 of 16
Case 4:19-cv-01718-ACA Document 1-1 Filed 10/21/19 Page 14 of 16
Case 4:19-cv-01718-ACA Document 1-1 Filed 10/21/19 Page 15 of 16
Case 4:19-cv-01718-ACA Document 1-1 Filed 10/21/19 Page 16 of 16
